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     CRITES SEED, INC.
 8
 9                             UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11   Agricola Cuyuma SA; Corporacion              )   CASE NO. 2:17-cv-8220-DMG (SKx)
     Agricola Vinasol SAC;                        )
12                                                )   DEFENDANT CRITES SEED, INC.’S
                                  Plaintiff,      )   PROPOSED VERDICT FORMS
13                                                )
           vs.                                    )
14                                                )   Complaint Served: December 21, 2017
     Corona Seeds, Inc., et al.                   )   Trial Date: April 28, 2020
15                                                )
                                  Defendants.     )   Judge: Hon. Dolly M. Gee
16                                                )   Magistrate: Hon. Louise LaMothe
                                                  )
17
18         Defendant Crites Seed, Inc. (hereinafter “Crites”) hereby submits its Proposed
19   Verdict Forms in the captioned matter. Crites reserves the right to supplement, withdraw,
20   and/or amend the proposed Verdict Form as required by the Court’s rulings and/or by the
21   evidence submitted at trial.
22
     Dated: March 10, 2020                      GORDON REES SCULLY
23                                              MANSUKHANI, LLP
24
                                                By: s/J. Todd Konold
25                                                  Jason F. Meyer
26                                                  J. Todd Konold
                                                    Lisa G. Taylor
27                                                  Attorneys for Defendant,
28                                                  CRITES SEED, INC.
                                                      -1-
                   DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1                                  VERDICT FORM NO. 1
 2                 NEGLIGENCE (AS TO DEFENDANT CRITES ONLY)
 3   We answer the questions submitted to us as follows:
 4         1.    Was Crites negligent?
 5               _______ Yes         _______ No
 6               If you answered yes to question 1, then answer question 2. If you answered
 7               no to question 1, stop here, answer no further questions, and have the
 8               presiding juror sign and date this form.
 9         2.    Was Crites’ negligence a substantial factor in causing harm to plaintiffs?
10               _______ Yes         _______ No
11               If you answered yes to question 2, then answer question 3. If you answered
12               no to question 2, stop here, answer no further questions, and have the
13               presiding juror sign and date this form.
14         3.    For each plaintiff, answer the following:
15               Did plaintiff Agricola Cuyuma prove that property it owned, other than the
16               seeds in question, was physically damaged as the result of Crites’
17               negligence?
18               _______ Yes         _______ No
19               Did plaintiff Corporacion Agricola Vinasol SAC prove that property it
20               owned, other than the seeds in question, was physically damaged as the
21               result of Crites’ negligence?
22               _______ Yes         _______ No
23               If you answered yes for either plaintiff in question 3, then answer question 4
24               for that plaintiff. If you answered no for either defendant in question 3,
25               insert the number zero next to that plaintiff’s name in question 4, and answer
26               no further questions as to that plaintiff. If you answered no for both
27               plaintiffs in question 3, stop here, answer no further questions as to
28               defendant Crites, and have the presiding juror sign and date this form.
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                  DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1       4.    For each plaintiff, answer the following:
 2             What are Agricola Cuyuma’s damages as the result of physical harm caused
 3             to property it owned other than the seeds in question? Do not reduce the
 4             damages based on the fault, if any, of Agricola Cuyuma, or others.
 5             a.     Lost profit on crops grown in adjacent fields         $_______
 6             b.     (Other, per admitted evidence)                        $ _______
 7             What are Corporacion Agricola Vinasol SAC’s damages as the result of
 8             physical harm caused to property it owned other than the seeds in question?
 9             Do not reduce the damages based on the fault, if any, of Corporacion
10             Agricola Vinasol SAC, or others.
11             a.     Lost profit on crops grown in adjacent fields         $_______
12             b.     (Other, per admitted evidence)                        $ _______
13       5.    For each plaintiff, answer the following:
14             Was Agricola Cuyuma negligent?
15             _______ Yes         _______ No
16             Was Corporacion Agricola Vinasol SAC negligent?
17             _______ Yes         _______ No
18             If your answer as to either plaintiff is yes, then answer question 6 as to that
19             plaintiff. If your answer as to either plaintiff is no, then insert the number
20             zero next to that plaintiff’s name in question 7, and skip question 6 as to that
21             plaintiff.
22       6.    For each plaintiff, answer the following:
23             Was Agricola Cuyuma’s negligence a substantial factor in causing its harm?
24             _______ Yes         _______ No
25             Was Corporacion Agricola Vinasol SAC’s negligence a substantial factor in
26             causing its harm?
27             _______ Yes         _______ No
28
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               DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1               If your answer as to either plaintiff is yes, then answer question 7 as to that
 2               plaintiff. If your answer as to either plaintiff is no, then insert the number
 3               zero next to that plaintiff’s name in question 7.
 4         7.    For each plaintiff, answer the following:
 5               What percentage of responsibility for Agricola Cuyuma’s harm do you
 6               assign to the following? Insert a percentage for only those who received
 7               “yes” answers to questions 2 or 6:
 8               Crites:                                        _______%
 9               Corona:                                        _______%
10               Agricola Cuyuma:                               _______%
11               TOTAL                                          100%
12               What percentage of responsibility for Corporacion Agricola Vinasol SAC’s
13               harm do you assign to the following? Insert a percentage for only those who
14               received “yes” answers to questions 2 or 6:
15               Crites:                                        _______%
16               Corona:                                        _______%
17               Corporacion Agricola Vinasol SAC:              _______%
18               TOTAL                                          100%
19   Signed: ________________________
                Presiding Juror
20
21   Dated: _________________________
22
     After all verdict forms have been signed, notify the [clerk/bailiff/court attendant]
23   that you are ready to present your verdict in the courtroom.
24
            Authority: Judicial Council of California Civil Jury Instructions 1 CACI VF-402
25   (2020); Agricola Baja Best v. Harris Moran Seed Co., 44 F.Supp.3d 974, 986 – 988 (S.D.
     Calif. 2014); Nada Pac. Corp. v. Power Eng’g & Mfg., 73 F.Supp.3d 1206, 1221 – 1222
26
     (N.D. Calif. 2014); Livermore Amador Valley Wastewater Management Agency v.
27   Northwest Pipe & Casing Co., 915 F.Supp. 1066, 1069 – 1074 (N.D. Calif. 1995); City of
     San Diego v. Amoco Chem. Co., 1999 U.S. Dist. LEXIS 24184 *, 3 – 8 (S.D. Calif.
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     1999).
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                  DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1                                       VERDICT FORM NO. 2
 2       STRICT PRODUCTS LIABILITY (AS TO DEFENDANT CRITES ONLY)
 3
          We answer the questions submitted to us as follows:
 4
          1.       Did Crites manufacture the seeds at issue?
 5
 6                 _______ Yes           _______ No
 7
                   If your answer to question 1 is yes, then answer question 2. If you answered
 8
                   no, stop here, answer no further questions, and have the presiding juror sign
 9
10                 and date this form.
11
          2.       Did the seeds at issue contain a manufacturing defect when it left Crites’
12
13   possession?

14                 _______ Yes           _______ No
15
                   If your answer to question 2 is yes, then answer question 3. If you answered
16
17                 no, stop here, answer no further questions, and have the presiding juror sign

18                 and date this form.
19
          3.       For each plaintiff, answer the following:
20
21                 Was the manufacturing defect a substantial factor in causing harm to

22                 Agricola Cuyuma?
23
                   _______ Yes           _______ No
24
25                 Was the manufacturing defect a substantial factor in causing harm to

26                 Corporacion Agricola Vinasol SAC?
27
                   _______ Yes           _______ No
28
                                                  -5-
                   DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1             If your answer as to either plaintiff is yes in question 3, answer question 4 as
 2
               to that plaintiff. If your answer as to either plaintiff is no in question 3, skip
 3
               the remaining questions with respect to that plaintiff, and enter zero next to
 4
 5             that plaintiff’s name in question 5. If your answer to question 3 with respect
 6
               to both plaintiffs is no, stop here, answer no further questions, and have the
 7
               presiding juror sign and date this form.
 8
 9       4.    For each plaintiff, answer the following:
10
               Did plaintiff Agricola Cuyuma prove that property it owned, other than the
11
12             seeds in question, was physically damaged as the result of Crites’

13             negligence?
14
               _______ Yes         _______ No
15
16             Did plaintiff Corporacion Agricola Vinasol SAC prove that property it

17             owned, other than the seeds in question, was physically damaged as the
18
               result of Crites’ negligence?
19
20             _______ Yes         _______ No

21             If you answered yes for either plaintiff in question 4, then answer question 5
22
               for that plaintiff. If you answered no for either defendant in question 4,
23
24             insert the number zero next to that plaintiff’s name in question 5, and answer

25             no further questions with respect to that plaintiff. If you answered no for all
26
               plaintiffs in question 4, stop here, answer no further questions as to
27
28             defendant Crites, and have the presiding juror sign and date this form.
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               DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1       5.    For each plaintiff, answer the following:
 2
               What are Agricola Cuyuma’s damages as the result of physical harm caused
 3
               to property it owned other than the seeds in question? Do not reduce the
 4
 5             damages based on the fault, if any, of Agricola Cuyuma, or others.
 6
               a.     Lost profit on crops grown in adjacent fields         $_______
 7
               b.     (Other, per admitted evidence)                        $ _______
 8
 9             What are Corporacion Agricola Vinasol SAC’s damages as the result of
10
               physical harm caused to property it owned other than the seeds in question?
11
12             Do not reduce the damages based on the fault, if any, of Corporacion

13             Agricola Vinasol SAC, or others.
14
               a.     Lost profit on crops grown in adjacent fields         $_______
15
16             b.     (Other, per admitted evidence)                        $ _______

17       6.    For each plaintiff, answer the following:
18
               Was Agricola Cuyuma negligent?
19
20             _______ Yes         _______ No

21             Was Corporacion Agricola Vinasol SAC negligent?
22
               _______ Yes         _______ No
23
24             If your answer as to either plaintiff is yes, then answer question 7 as to that

25             plaintiff. If your answer as to either plaintiff is no, then insert the number
26
               zero next to that plaintiff’s name in question 8, and skip question 7 as to that
27
28             plaintiff.
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               DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1       7.    For each plaintiff, answer the following:
 2
               Was Agricola Cuyuma’s negligence a substantial factor in causing its harm?
 3
               _______ Yes         _______ No
 4
 5             Was Corporacion Agricola Vinasol SAC’s negligence a substantial factor in
 6
               causing its harm?
 7
               _______ Yes         _______ No
 8
 9             If your answer as to either plaintiff is yes, then answer question 8 as to that
10
               plaintiff. If your answer as to either plaintiff is no, then insert the number
11
12             zero next to that plaintiff’s name in question 8.

13       8.    For each plaintiff, answer the following:
14
               What percentage of responsibility for Agricola Cuyuma’s harm do you
15
16             assign to the following? Insert a percentage for only those who received

17             “yes” answers to questions 3 or 7:
18
               Crites:                                        _______%
19
20             Corona:                                        _______%

21             Agricola Cuyuma:                               _______%
22
               TOTAL                                          100%
23
24             What percentage of responsibility for Corporacion Agricola Vinasol SAC’s

25             harm do you assign to the following? Insert a percentage for only those who
26
               received “yes” answers to questions 3 or 7:
27
28             Crites:                                        _______%
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               DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
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 1               Corona:                                     _______%
 2
                 Corporacion Agricola Vinasol SAC:           _______%
 3
                 TOTAL                                       100%
 4
 5   Signed: ________________________
                Presiding Juror
 6
 7   Dated: _________________________
 8
     After all verdict forms have been signed, notify the [clerk/bailiff/court attendant]
 9   that you are ready to present your verdict in the courtroom.
10
11          Authority: Judicial Council of California Civil Jury Instructions 1 CACI VF-1200
12   (2020); Agricola Baja Best v. Harris Moran Seed Co., 44 F.Supp.3d 974, 986 – 988 (S.D.
     Calif. 2014); Nada Pac. Corp. v. Power Eng’g & Mfg., 73 F.Supp.3d 1206, 1221 – 1222
13   (N.D. Calif. 2014); Livermore Amador Valley Wastewater Management Agency v.
14   Northwest Pipe & Casing Co., 915 F.Supp. 1066, 1069 – 1074 (N.D. Calif. 1995); City of
     San Diego v. Amoco Chem. Co., 1999 U.S. Dist. LEXIS 24184 *, 3 – 8 (S.D. Calif.
15   1999).
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 1                            I.     CERTIFICATE OF SERVICE
 2         I am a resident of the State of California, over the age of eighteen years, and not a
 3   party to the within action. My business address is: Gordon Rees Scully Mansukhani,
 4   LLP, 101 W. Broadway, Suite 2000, San Diego, CA 92101, my electronic mail address
 5   is wdoolittle@grsm.com. On March 10, 2020, I served the foregoing document(s) as
 6   follows:
 7
           DEFENDANT CRITES SEED, INC.’S PROPOSED VERDICT FORMS
 8
     BY ELECTRONIC SERVICE THROUGH THE CM/ECF SYSTEM
 9     which automatically generates a Notice of Electronic Filing at the time said
       document is filed to all CM/ECF Users who have appeared in this case.
10     Service with this NEF constitutes service pursuant to FRCP 5(b)(E).
11
           I declare under penalty of perjury under the laws of the United States of America
12
     that I am employed in the office of a member of the Bar of this Court at whose direction
13
     the service was made.
14
           Executed on March 10, 2020, at San Diego, California.
15
16
17                                                 Woody Doolittle

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